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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MOLLY BECKER,                                     )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )           No. 4:19-cv-00790-RLW
                                                  )
WALMART INC.,                                     )           Removed from the Circuit
                                                  )           Court of Phelps County, MO
                       Defendant.                 )           Case No. 19PH-CV00220

                     AGREED REQUEST FOR EXTENSION OF TIME
                         TO FILE RESPONSIVE PLEADING

       Defendant Walmart Inc. (“Walmart”), by counsel and pursuant to Fed. R. Civ. P. 6(b),

requests an extension of time from the current deadline of May 1, 2019, to 14 days following a

decision on Plaintiff-Intervenor Ashley Mistler’s Motion to Intervene and to Dismiss, Stay or

Transfer this Action (Doc. #8), to file its responsive pleading in this removed case. As grounds,

Walmart states:

       1.      On February 19, 2019, Plaintiff Molly Becker (“Becker”) filed the removed case,

Becker v. Walmart Inc., No. 19PH-CV00220, in the Circuit Court of Phelps County, Missouri.

       2.      On March 29, 2019, and before filing any answer or other responsive pleading in

state court, Walmart filed its notice of removal in this Court. (Doc. #1).

       3.      On April 8, 2019, this Court granted an agreed request by Walmart to set the

responsive pleading deadline for this case at May 1, 2019, which was the same date Becker and

Walmart had negotiated as a responsive pleading deadline when the case was pending in state

court. (Doc. #7) (Order); (Doc. #6) (Agreed Extension Request).

       4.      On April 19, 2019, Plaintiff-Intervenor Ashley Mistler filed a Motion to Intervene

and to Dismiss, Stay or Transfer this action. (Doc. #8). Plaintiff-Intervenor Mistler refers to this
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case as “the Becker copycat action.” (Doc. #8, PageID #93). Plaintiff-Intervenor Mistler argues

that “pursuant to the first-filed rule, the Becker copycat action should be dismissed, stayed, or

transferred in light of the first-filed putative nationwide class action pending in the Southern

District of New York, In re Welspun Litigation, S.D.N.Y. Case No. 1:16-cv-06792 (VB) (“In re

Welspun”).” (Doc. #8, PageID #93). Plaintiff-Intervenor Mistler’s filings in support of her

Motion appear as Doc. #s 9-11.

        5.     Becker has requested and received Walmart’s consent for a 7-day extension of

time in which to respond to Plaintiff-Intervenor Mistler’s motion. If granted by the Court,

Plaintiff Becker’s response to Plaintiff-Intervenor Mistler’s motion would be due on May 3,

2019.

        6.     Walmart submits it is in the interests of judicial economy and the sound

administration of justice for the threshold issues of whether this case should proceed and in what

court that are raised by Plaintiff-Intervenor Mistler’s pending motion be addressed first, before

Walmart be required to file a responsive pleading in this matter. Walmart respectfully requests

that its responsive pleading deadline be set at 14 days from the date of decision on Plaintiff-

Intervenor Mistler’s motion.

        7.     Walmart has conferred with Plaintiff Becker’s counsel about this request and

Plaintiff Becker’s counsel has consented to the requested extension of time.

        8.     This motion is brought in good faith and not for any purposes of delay.

        WHEREFORE, for the reasons set forth above, Walmart respectfully requests that the

Court enter an order granting Walmart an extension of time to 14 days following a decision on

Plaintiff-Intervenor Ashley Mistler’s Motion to Intervene and to Dismiss, Stay or Transfer this




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Action (Doc. #8), to file its responsive pleading in this case and for such other and further relief

as the Court deems just.



                                                      /s/ Heidi Doerhoff Vollet_____
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2019, the foregoing was filed electronically with the
Clerk of Court, served via the CM/ECF system on all counsel of record.


                                              /s/ Heidi Doerhoff Vollet
                                              Heidi Doerhoff Vollet




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